     Case: 24-50390    Document: 2-1    Page: 1     Date Filed: 05/20/2024




                              No. _______

In the United States Court of Appeals for the Fifth Circuit
                            _____________

In re Ashley Maxwell, Zach Maxwell, Mistie Sharp, Shannon
               Thomason, and Sadie Weldon,
                                                  Petitioners.
                            _____________

  On Petition for a Writ of Mandamus from the United States District Court
              for the Western District of Texas, Austin Division
                          Case No. 1:22-cv-00859-RP
                             _____________

            PETITION FOR WRIT OF MANDAMUS
                      _____________

                                       Jonathan F. Mitchell
                                       Mitchell Law PLLC
                                       111 Congress Avenue, Suite 400
                                       Austin, Texas 78701
                                       (512) 686-3940 (phone)
                                       (512) 686-3941 (fax)
                                       jonathan@mitchell.law

                                       Counsel for Petitioners
        Case: 24-50390     Document: 2-1       Page: 2   Date Filed: 05/20/2024



             CERTIFICATE OF INTERESTED PERSONS
     Counsel of record certifies that the following persons and entities have an inter-
est in the outcome of this case.
      Petitioners–Defendants               Petitioners–Defendants’ Counsel
• Ashley Maxwell                     Jonathan F. Mitchell
• Zach Maxwell                       Mitchell Law PLLC
• Mistie Sharp
• Shannon Thomason
• Sadie Weldon
             Defendants                         Defendants’ Counsel
• José Garza                         Cynthia Contreras Gutierrez
• Julie Renken                       Contreras Gutierrez and Associates
• Susan R. Deski
• Wiley B. “Sonny” McAfee            Lisa V. Cubriel
• Fred H. Weber                      Robert W. Piatt III
• Joe Gonzales                       Bexar County District Attorney’s Office
• Toribio Palacios
• K. Sunshine Stanek                 Josephine Ramirez-Solis
                                      Leigh Ann Tognetti
• Gocha Allen Ramirez
                                      Hidalgo County District Attorney’s Office
• Bill D. Hicks
• Ori T. White
                                      J. Eric Magee
• Richard E. Glaser
                                      Allison, Bass & Magee, LLP
• Ryan Sinclair
• Jacob Putman                       Heather Gebelin Hacker
                                      Andrew B. Stephens
                                      Hacker Stephens LLP

                                      Leslie W. Dippel
                                      Anthony J. Nelson
                                      Patrick T. Pope
                                      Travis County District Attorney’s Office

                                      R. Neal Burt
                                      Jennifer Irlbeck
                                      Lubbock County District Attorney’s Office
                                           i
        Case: 24-50390      Document: 2-1        Page: 3   Date Filed: 05/20/2024




Plaintiffs (Real Parties in Interest)                Plaintiffs’ Counsel
• Fund Texas Choice                    Jennifer R. Ecklund
• Buckle Bunnies Fund                  Elizabeth G. Myers
• Clinic Access Support Network        Allyn Jaqua Lowell
• Frontera Fund                        John Atkins
• Ghazaleh Moayedi                     Elizabeth Rocha
• Jane’s Due Process                   Thompson Coburn LLP
• Lilith Fund for Reproductive
   Equity                               Alex Wilson Albright
• North Texas Equal Access             Marcy Hogan Greer
   Fund                                 Alexander Dubose & Jefferson LLP
• The Afiya Center
• West Fund

          Respondent
• Judge Robert Pitman


                                              /s/ Jonathan F. Mitchell
                                             Jonathan F. Mitchell
                                             Counsel for Petitioners





                                            ii
           Case: 24-50390              Document: 2-1              Page: 4       Date Filed: 05/20/2024



                                      TABLE OF CONTENTS
Certificate of interested persons ............................................................................... i
Table of contents .................................................................................................... iii
Table of authorities .................................................................................................. v
Statement concerning oral argument .................................................................... viii
Statement of relief sought ........................................................................................ 1
Issues presented ....................................................................................................... 1
Statement of facts .................................................................................................... 2
         I.      Texas’s abortion laws .......................................................................... 2
         II.     The district court proceedings ............................................................. 5
                  A.       Plaintiffs move for immediate summary judgment in an
                            attempt to deny the SB 8 defendants discovery ....................... 13
                  B.       The plaintiffs and the district court thwart the SB 8
                            defendants’ discovery efforts ................................................... 14
                  C.       The plaintiffs again demand an immediate ruling on their
                            summary-judgment motion ..................................................... 17
Reasons the writ should issue................................................................................. 22
         I.      The petitioners’ entitlement to the writ is clear and indisputable ..... 22
                  A.       The district court has a non-discretionary duty to ensure
                            that it has jurisdiction before proceeding to the merits of
                            a case ....................................................................................... 22
                  B.       The district court clearly abused its discretion by denying
                            the SB 8 defendants meaningful discovery .............................. 25
                  C.       The district court has a non-discretionary duty to enter a
                            scheduling order that complies with Rule 16 ........................... 28
         II.     There is no adequate remedy by appeal, and mandamus is
                  appropriate under the circumstances ................................................. 29
         III.    The Court should certify the state-law abortion issues to the
                  Supreme Court of Texas .................................................................... 30

                                                            iii
           Case: 24-50390              Document: 2-1             Page: 5       Date Filed: 05/20/2024



Conclusion ............................................................................................................. 32
Certificate of service .............................................................................................. 33
Certificate of compliance ....................................................................................... 34





                                                            iv
          Case: 24-50390             Document: 2-1           Page: 6       Date Filed: 05/20/2024



                                 TABLE OF AUTHORITIES
Cases
B. Inc. v. Miller Brewing Co., 663 F.2d 545 (5th Cir. 1981) ....................................... 23
Cheney v. U.S. District Court for the District of Columbia,
  542 U.S. 367 (2004)............................................................................................ 25
Coca-Cola Co. v. Harmar Bottling Co., 218 S.W.3d 671 (Tex. 2006) .......................... 5
DaimlerChrysler Corp. v. Cuno, 547 U.S. 332 (2006) .............................................. 24
Davis v. Sharp, 656 F. Supp. 3d 687 (W.D. Tex. 2023) ............................................11
Department of Education v. Brown, 600 U.S. 551 (2023) .......................................... 24
Fund Texas Choice v. Paxton, 658 F. Supp. 3d 377 (W.D. Tex. 2023) ......................... 4
Giboney v. Empire Storage & Ice Co., 336 U.S. 490 (1949) ........................................ 26
Gras v. Stevens, 415 F. Supp. 1148 (S.D.N.Y. 1976) ................................................. 12
Hollis v. Itawamba County Loans, 657 F.2d 746 (5th Cir. 1981) ................................ 12
Howard Gault Co. v. Texas Rural Legal Aid, Inc.,
 848 F.2d 544 (5th Cir. 1988) ............................................................................... 12
In re Gee, 941 F.3d 153 (2019) ........................................................................... 22, 23
In re Paxton, 60 F.4th 252 (5th Cir. 2023) ........................................................... 7, 24
In re Volkswagen of America, Inc., 545 F.3d 304 (5th Cir. 2008) (en banc)................ 22
Kaspersky Lab, Inc. v. United States Dep’t of Homeland Security,
  909 F.3d 446 (D.C. Cir. 2018) ............................................................................ 10
Lance v. Coffman, 549 U.S. 437 (2007) ............................................................. 19, 22
Massachusetts v. Mellon, 262 U.S. 447 (1923) .......................................................... 28
McCartney v. First City Bank, 970 F.2d 45 (5th Cir. 1992) ................................. 12, 19
McCorvey v. Hill, 385 F.3d 846 (5th Cir. 2004) ......................................................... 3
MidCap Media Finance, L.L.C. v. Pathway Data, Inc.,
  929 F.3d 310 (5th Cir. 2019) ............................................................................... 23
Okpalobi v. Foster, 244 F.3d 405 (5th Cir. 2001) (en banc) ...................................... 27
Steel Co. v. Citizens for a Better Environment, 523 U.S. 83 (1998) ............................ 23
                                                         v
           Case: 24-50390             Document: 2-1             Page: 7       Date Filed: 05/20/2024



United States v. Hansen, 599 U.S. 762 (2023) ......................................................... 26
White v. United States, 601 F.3d 545 (6th Cir. 2010) ............................................... 10
Whole Woman’s Health v. Jackson, 141 S. Ct. 2494 (2021) ...................................... 27
Whole Woman’s Health v. Jackson, 595 U.S. 30 (2021) .............................................11
Statutes
42 U.S.C. § 1983 ............................................................................................. passim
42 U.S.C. § 1988 ...................................................................................................... 8
Tex. Gov’t Code § 311.036(a) ................................................................................... 3
Tex. Health & Safety Code § 170A.002(a) ............................................................... 2
Tex. Health & Safety Code § 170A.004(b) ............................................................... 2
Tex. Health & Safety Code § 170A.005 ................................................................... 2
Tex. Health & Safety Code § 170A.007 ................................................................... 2
Tex. Health & Safety Code § 171.201(4) .................................................................. 4
Tex. Health & Safety Code § 171.204 ...................................................................... 4
Tex. Health & Safety Code § 171.207(a)................................................................... 4
Tex. Health & Safety Code § 245.002(1) ............................................................. 2, 5
Tex. Penal Code § 1.04(a) ................................................................................ 2, 4, 5
Tex. Penal Code § 1.07 ............................................................................................. 5
Tex. Penal Code § 19.02 ........................................................................................... 5
Tex. Penal Code § 19.06(2) ...................................................................................... 5
West’s Texas Civil Statutes, article 4512.1 (1974) .................................................... 4
West’s Texas Civil Statutes, article 4512.2 (1974) .................................................... 4
Rules
18 U.S.C. §§ 1461–1462.................................................................................... 20, 26
Fed. R. Civ. P. 16(b)(2) ............................................................................................. 6
Fed. R. Civ. P. 16(b)(3)(A) .................................................................................. 6, 19


                                                           vi
           Case: 24-50390             Document: 2-1              Page: 8       Date Filed: 05/20/2024



Fed. R. Civ. P. 33(a)(1)............................................................................................ 26
W.D. Tex. L. Civ. R. 16(a) ........................................................................................ 6
W.D. Tex. L. Civ. R. 16(c) ........................................................................................ 6
W.D. Tex. L. Civ. R. 33(b)(1) .................................................................................. 15
Other Authorities
Black’s Law Dictionary (11th edition) ...................................................................... 4
Iris Dimmick, Abortion access advocates face imposters, legal threats as
   trigger law nears, San Antonio Report (August 1, 2022) ...................................... 27
Ken Paxton, Updated Advisory on Texas Law Upon Reversal of Roe Wade,
  June 27, 2022 ........................................................................................................ 3
13A Charles Alan Wright et al., Federal Practice and Procedure (3d ed.
  2008 & Supp. 2021) ........................................................................................... 10









                                                           vii
        Case: 24-50390     Document: 2-1        Page: 9   Date Filed: 05/20/2024



            STATEMENT CONCERNING ORAL ARGUMENT
    The petitioners do not believe that oral argument is necessary because the dis-

trict court’s errors are clear and indisputable, as is the petitioners’ entitlement to

the writ.



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                                         viii
    Case: 24-50390     Document: 2-1       Page: 10   Date Filed: 05/20/2024



                   Statement Of Relief Sought
    Petitioners seek mandamus relief directing the district court to: (1) Re-

solve the petitioners’ jurisdictional objections to this lawsuit before forcing
them to respond to the plaintiffs’ motion for summary judgment; (2) Allow

them to take meaningful discovery from each of the plaintiffs that has sued

them; and (3) Issue a scheduling order that accords with the requirements of
Rule 16.

    The petitioners also ask the Court to certify the state-law issues in this

case to the Supreme Court of Texas before ruling on the mandamus petition,
as the petitioners’ jurisdictional objections turn on interpretations of state

abortion statutes that the district court has no power to authoritatively re-
solve.

                           Issues Presented
    1. Whether the district court clearly and indisputably erred when it: (a)

Refused to resolve the petitioners’ jurisdictional objections before forcing

them to respond to the plaintiffs’ summary-judgment motion; (b) Denied the
petitioners adequate discovery; and (c) Refuses to issue a scheduling order

that complies with Rule 16.

    2. Whether this Court should certify the issues of state abortion law to

the Supreme Court of Texas before ruling on the mandamus petition.




                                       1
      Case: 24-50390     Document: 2-1       Page: 11   Date Filed: 05/20/2024



                           Statement Of Facts
I.     Texas’s Abortion Laws
      The law of Texas not only bans elective abortions but also penalizes indi-

viduals and organizations that help women leave the state to obtain abortions

elsewhere. Each of the four relevant statutes—the state’s “trigger ban,” its
pre–Roe v. Wade criminal abortion laws, the Texas Heartbeat Act, and the

murder statute—restricts the behavior of abortion-assistance organizations

in different ways.

      1. The trigger ban provides, in relevant part:

        A person may not knowingly perform, induce, or attempt an
        abortion.
Tex. Health & Safety Code § 170A.002(a). “Abortion” is defined as:

        [T]he act of using or prescribing an instrument, a drug, a medi-
        cine, or any other substance, device, or means with the intent to
        cause the death of an unborn child.
Tex. Health & Safety Code § 245.002(1). Anyone who violates the trigger

ban is subject to criminal sanctions,1 civil penalties,2 and loss of medical or

health-care licenses.3

      The trigger ban does not apply to abortions that occur entirely in another

state. See Tex. Penal Code § 1.04(a). But the trigger ban will apply to out-of-
state abortion providers who dispense abortion-inducing drugs if the patient

ingests one of the drugs in Texas. See id. (“Texas has criminal jurisdiction to


1.    Tex. Health & Safety Code § 170A.004(b).
2.    Tex. Health & Safety Code § 170A.005.
3.    Tex. Health & Safety Code § 170A.007.


                                         2
     Case: 24-50390     Document: 2-1       Page: 12   Date Filed: 05/20/2024




prosecute when: (1) either the conduct or a result that is an element of the

offense occurs inside this state”).4 Abortion funds who assist these abortions

are equally liable for the crime.

     2. Texas never repealed its pre–Roe v. Wade abortion statutes, which be-
came enforceable when the Supreme Court overruled Roe. See Ken Paxton,

Updated Advisory, June 27, 2022, available at bit.ly/3X1uOme.5 The pre-Roe

statutes reach beyond the trigger ban by criminalizing conduct that “pro-
cures” an abortion:

       If any person shall designedly administer to a pregnant woman
       or knowingly procure to be administered with her consent any drug or
       medicine, or shall use towards her any violence or means what-
       ever externally or internally applied, and thereby procure an abor-
       tion, he shall be confined in the penitentiary …




4.   A drug-induced abortion involves two drugs that are taken 24–48 hours
     apart. The patient will typically ingest the first drug (mifepristone or
     mifeprex) at a clinic, and return home to ingest the second drug (miso-
     prostol) 24–48 hours later.
5.   In 2004, this Court held that Texas’s pre-Roe abortion statutes were
     “repealed by implication.” McCorvey v. Hill, 385 F.3d 846, 849 (5th Cir.
     2004). But section 2 of the Texas Heartbeat Act overrules McCorvey. See
     SB 8 § 2 (“Texas never repealed, either expressly or by implication, the
     state statutes enacted before … Roe v. Wade … that prohibit and criminal-
     ize abortion”). The Heartbeat Act also amends the Code Construction
     Act, which provides that: “A statute that regulates or prohibits abortion
     may not be construed to repeal any other statute that regulates or pro-
     hibits abortion, either wholly or partly, unless the repealing statute ex-
     plicitly states that it is repealing the other statute.” Tex. Gov’t Code
     § 311.036(a).


                                        3
     Case: 24-50390    Document: 2-1       Page: 13   Date Filed: 05/20/2024




West’s Texas Civil Statutes, article 4512.1 (1974) (emphasis added). This im-

poses criminal liability on abortion funds that commit acts inside Texas that

“procure” abortions, even when the “procured” abortion occurs out of

state. See Tex. Penal Code § 1.04(a)(1); Black’s Law Dictionary (11th edition)

(“procure vb. (14c) 1. To obtain (something), esp. by special effort or means.

2. To achieve or bring about (a result).”). The pre-Roe statutes also impose

criminal liability on those who “furnish[] the means for procuring an abor-
tion knowing the purpose intended.” West’s Texas Civil Statutes, article

4512.2 (1974). This subjects abortion funds to criminal sanctions if their con-

duct inside Texas “furnishes the means for procuring an abortion”—
regardless of where the abortion occurs.

     3. The Texas Heartbeat Act (SB 8) prohibits abortion if a fetal heartbeat

is detectable. But SB 8 does not impose criminal sanctions or administrative

penalties, and it bans state officials from enforcing the law. See Tex. Health &

Safety Code § 171.207(a). Instead, it authorizes private citizens to file civil-

enforcement lawsuits against those who perform or assist post-heartbeat
abortions. SB 8 applies only to abortions performed by Texas-licensed physi-

cians.6

     SB 8 does not apply to abortions that occur entirely outside Texas be-
cause it lacks a clear statement of extraterritorial effect. See Coca-Cola Co. v.


6.   See Tex. Health & Safety Code §§ 171.201(4), 171.204; Fund Texas
     Choice v. Paxton, 658 F. Supp. 3d 377, 387 (W.D. Tex. 2023) (“S.B. 8 lim-
     its its coverage to abortions performed by Texas-licensed physicians.”).


                                       4
     Case: 24-50390     Document: 2-1         Page: 14   Date Filed: 05/20/2024




Harmar Bottling Co., 218 S.W.3d 671, 682 (Tex. 2006). But SB 8 (like the

trigger ban) will apply if a patient ingests an abortion-inducing drug in Texas

after receiving it from an out-of-state provider. See Tex. Health & Safety

Code § 245.002(1) (“abortion” includes “the act of using” any “drug”

“with the intent to cause the death of an unborn child”). Abortion funds can

be sued under SB 8 if they aid or abet abortions of this sort.

     4. The murder statute prohibits any act that “intentionally or knowingly
causes the death” of an unborn child,7 although it exempts “lawful medical

procedures” by licensed health care providers. See Texas Penal Code

§ 19.06(2). Any abortion prohibited by the trigger ban, the pre-Roe abortion

statutes, or SB 8 will violate the murder statute, but only if the death of the

fetus or the act that “intentionally or knowingly caused” the death occurred
inside Texas. See Tex. Penal Code § 1.04(a).

II. The District Court Proceedings
     The plaintiffs include nine Texas abortion funds and one doctor who fear

criminal prosecution for assisting out-of-state abortions. On August 23,

2022, they sued Attorney General Paxton and five district attorneys, seeking
to enjoin them from enforcing the trigger ban and the pre-Roe abortion stat-

utes against their desired activities. App. 1–90. The plaintiffs did not sue the

petitioners in their initial complaint.




7.   Texas Penal Code § 19.02; see also Texas Penal Code § 1.07 (“‘Individu-
     al’ … includ[es] an unborn child at every stage of gestation”).


                                          5
     Case: 24-50390    Document: 2-1       Page: 15   Date Filed: 05/20/2024




     The rules of the Western District of Texas required these parties to sub-

mit a scheduling order “not later than 60 days after any appearance of any

defendant.” W.D. Tex. L. Civ. R. 16(c). Paxton appeared on September 22,

2022,8 so the parties were required to submit a scheduling order by Novem-
ber 21, 2022. See Fed. R. Civ. P. 16(b)(3)(A); W.D. Tex. L. Civ. R. 16(a);

http://bit.ly/3WKEdAo ( Judge Pitman’s scheduling-order template). The

parties failed to submit the required scheduling order.

     The district court was also required to enter a scheduling order that im-

poses deadlines for amending the pleadings and adding or joining additional

parties, as well as timetables for conducting discovery and submitting sum-
mary-judgment motions. See Fed. R. Civ. P. 16(b)(2) (“The judge must issue

the scheduling order as soon as practicable, but unless the judge finds good

cause for delay, the judge must issue it … 60 days after any defendant has ap-
peared.”); W.D. Tex. L. Civ. R. 16(a) (“A scheduling order must be entered

in every case”). The district court, in violation of Rule 16(b)(2) and Local

Rule 16(a), failed to enter a scheduling order or find “good cause for delay”

by November 21, 2022. The district court still has not entered the required

scheduling order in this case.

     In October of 2022, Attorney General Paxton sought mandamus when

the district court refused to quash a subpoena to testify at a preliminary-

injunction hearing, and refused to rule on Paxton’s jurisdictional objections



8.   App. 7500.


                                       6
    Case: 24-50390     Document: 2-1       Page: 16   Date Filed: 05/20/2024




before compelling his testimony. See In re Paxton, 60 F.4th 252 (5th Cir.

2023). This Court issued mandamus and directed the district court to quash

the subpoena. See id. at 260. The Court also held that the district court

“clearly erred by not first ensuring its own jurisdiction” before allowing the

plaintiffs to subpoena Paxton. Id. at 254; id. (noting that Paxton had sought

dismissal under Rule 12(b)(1) for lack of standing and sovereign immunity

and); id. at 257–58 (“The district court had a non-discretionary duty to as-
certain its jurisdiction by ruling on Paxton’s [Rule 12(b)(1)] motion … before

allowing Paxton to be subpoenaed.”); id. at 261 (Higginbotham, J., concur-

ring) (“[S]tanding—injury and redressability—here is not self-evident, and
as a threshold matter jurisdiction must be addressed. This is rote.”).

    On February 24, 2023, the district court dismissed the claims against

Paxton, but preliminarily enjoined the district-attorney defendants from en-

forcing Texas’s pre-Roe abortion statutes. App. 303–354. The Court held

that: (1) Paxton lacks authority to enforce the pre-Roe statutes and SB 8;9 and

(2) The trigger ban, which Paxton does enforce, could not (in the district
court’s view) be read to prohibit conduct “related exclusively to out-of-state

abortions.”10 But the district court did not define “out-of-state abortions,”

and did not say whether the trigger ban applies when a patient ingests an
abortion drug in Texas after receiving it from an out-of-state provider.

9. App. 331–334.
10. App. 320; see also App. 325 (“H.B. 1280 is not susceptible to a construc-
    tion that it applies extraterritorially or penalizes those who facilitate an
    abortion which occurs outside Texas.”).


                                       7
    Case: 24-50390       Document: 2-1       Page: 17   Date Filed: 05/20/2024




    The district court enjoined the DAs from enforcing Texas’s pre-Roe abor-

tion statutes because it held that those statutes were “repealed by implica-

tion”11—despite the provisions in SB 8 that explicitly declare that pre-Roe

abortion statutes were “never repealed,” and despite the amendments to the

Code Construction Act that prohibit courts from finding implied repeals of a

statutory abortion restriction.12 In response to the district court’s preliminary

injunction, some (but not all) of the plaintiffs resumed their abortion-
assistance activities in Texas. App. 367–368; App. 369.

    On April 12, 2023, the plaintiffs moved for leave to file a second amended

complaint that would add five private citizens as named defendants and bring
a litany of claims against them challenging the constitutionality of the Texas

Heartbeat Act. App. 7511. (We will call these private-citizen defendants the

“SB 8 defendants” or “petitioners.”) The district court granted the motion
on April 20, 2023. App. 7512.

    The second amended complaint sues the SB 8 defendants under 42

U.S.C. § 1983, claiming that each of these private citizens is violating the
plaintiffs’ constitutional and federally protected rights by “threatening” to

sue them under SB 8. App. 357–362. The complaint also demands that the

SB 8 defendants—who are private citizens of limited means—pay the plain-
tiffs’ costs and attorneys’ fees under 42 U.S.C. § 1988, threatening them



11. App. 346.
12. See note 5, supra.


                                         8
    Case: 24-50390        Document: 2-1       Page: 18   Date Filed: 05/20/2024




with bankruptcy if the district court rules against them on any of the section

1983 claims. App. 432.

    There are many problems with the plaintiffs’ attempts to sue the SB 8

defendants under 42 U.S.C. § 1983. First, the plaintiffs lack Article III stand-

ing because every single abortion (and abortion-assistance activity) prohibited

by SB 8 is independently criminalized by the trigger ban and the pre-Roe

abortion statutes.13 That means it is impossible for the abortion-fund plaintiffs

to assist abortions in violation of SB 8, even if they want to violate the stat-

ute, because no Texas-licensed physicians14 are willing to perform those abor-

tions and subject themselves to criminal sanctions, civil penalties, and man-
datory loss of licensure under the trigger ban or the pre-Roe abortion statutes.

That will remain the case even if the courts declare SB 8 unconstitutional

and enjoin every person in the world from filing civil-enforcement lawsuits
against the plaintiffs.

    SB 8 has been completely overtaken by the trigger ban and the pre-Roe

abortion statutes, which outlaw every single abortion prohibited by SB 8 and

then some by criminalizing: (1) Pre-heartbeat as well as post-heartbeat abor-


13. Most abortions and abortion-assistance activities outlawed by SB 8 are
    also covered by the murder statute. The only exception is for a drug-
    induced abortion in which a patient ingests the second abortion pill in
    Texas (thereby completing the abortion within state boundaries), if the
    unborn child had already been killed by the first abortion pill before the
    patient’s return to Texas.
14. SB 8 applies only to abortions performed by Texas-licensed physicians.
    See note 6, supra.


                                          9
    Case: 24-50390     Document: 2-1           Page: 19     Date Filed: 05/20/2024




tions; and (2) Abortions performed by anyone, not just Texas-licensed physi-

cians. The following chart shows the relationship among the statutes:

                                     Abortions and
                                  abortion-assistance
                                  activities prohibited
                                 by the pre–Roe v. Wade
                                    abortion statutes


                                      Abortions and
                                   abortion-assistance
                                 activities prohibited by
                                     the Trigger Ban




                                      Abortions and
                                   abortion-assistance
                                 activities prohibited by
                                           SB 8




The plaintiffs are not challenging the trigger ban, and a plaintiff lacks stand-

ing when a separate, unchallenged statute independently outlaws all of the

conduct prohibited by the disputed law. See 13A Charles Alan Wright et al.,

Federal Practice and Procedure § 3531.5 (3d ed. 2008 & Supp. 2021) (“One law

alone does not cause the injury if the other law validly outlaws all the same

activity.”); Kaspersky Lab, Inc. v. United States Dep’t of Homeland Security,
909 F.3d 446, 465 (D.C. Cir. 2018) (no standing to challenge an agency di-

rective when a separate (unchallenged) statute prohibits “all the same con-

duct as the directive—and then some.”); White v. United States, 601 F.3d

545, 552 (6th Cir. 2010) (no standing to challenge federal Animal Welfare

Act’s prohibition on cockfighting when “the states’ prohibitions on cock-

fighting would remain in place notwithstanding any action we might take in




                                          10
    Case: 24-50390       Document: 2-1        Page: 20   Date Filed: 05/20/2024




regard to the AWA.”). The abortion-fund plaintiffs must also allege and

prove that there are Texas-licensed physicians willing to violate SB 8 and risk

the penalties imposed by the trigger ban, because otherwise it is impossible

for abortion funds (or anyone else) to assist abortions prohibited by SB 8 re-

gardless of what happens in this lawsuit. The plaintiffs have not done so at

any stage of this litigation.

    The plaintiffs also lack Article III standing because each of the SB 8 de-
fendants has declared that they have no intention of suing the plaintiffs under

SB 8—and they had no such intention when the plaintiffs sued them. App.

3412–3503; see also Whole Woman’s Health v. Jackson, 595 U.S. 30, 48 (2021)
(“Mr. Dickson argues that the petitioners lack standing to sue him because

he possesses no intention to file an S. B. 8 suit against them. Mr. Dickson has

supplied sworn declarations so attesting. . . . Accordingly, on the record be-

fore us the petitioners cannot establish ‘personal injury fairly traceable to

[Mr. Dickson’s] allegedly unlawful conduct.’” (citations omitted)); Davis v.

Sharp, 656 F. Supp. 3d 687, 689–90 (W.D. Tex. 2023) (“Defendants in this
case have unequivocally renounced any intention to sue Plaintiffs under S.B.

8. With that, Plaintiffs no longer can establish an adequate injury, and the

Court must … dismiss Plaintiffs’ claims for lack of standing.”).
    In addition to the Article III standing problems, the plaintiffs cannot sue

the SB 8 defendants under 42 U.S.C. § 1983 because a private citizen does

not act “under color” of state law by filing (or threatening to file) a lawsuit—
even when a state statute authorizes his suit. See Howard Gault Co. v. Texas


                                         11
    Case: 24-50390      Document: 2-1        Page: 21   Date Filed: 05/20/2024




Rural Legal Aid, Inc., 848 F.2d 544, 555 (5th Cir. 1988) (“The growers cannot

be held liable in a § 1983 suit simply because they filed suit under Texas stat-

utes and obtained a temporary restraining order.”); Hollis v. Itawamba County

Loans, 657 F.2d 746, 749 (5th Cir. 1981) (“[N]o state action is involved when

the state merely opens its tribunals to private litigants.”); Gras v. Stevens, 415

F. Supp. 1148, 1152 (S.D.N.Y. 1976) (Friendly, J.) (“[W]e know of no authori-

ty that one private person, by asking a state court to make an award against
another which is claimed to be unconstitutional, is violating 42 U.S.C.

§ 1983.”).

    The only circumstance in which a private litigant may be sued for acting
“under color of” state law is when he conspires or coordinates his efforts

with state officials, or when there is “corruption of judicial power by the pri-

vate litigant.” McCartney v. First City Bank, 970 F.2d 45, 47 (5th Cir. 1992)

(quoting Earnest v. Lowentritt, 690 F.2d 1198, 1200 (5th Cir. 1982)); Howard

Gault, 848 F.2d at 555. The pleading makes no allegation that any of the SB 8

defendants is conspiring or coordinating with public officials, and each of
them has submitted declarations stating that any private civil-enforcement

lawsuits that they might file will be done on their own initiative and without

consultation with any government officials. App. 3509–3528. So the section
1983 claims should be dismissed on the merits even if the plaintiffs could

somehow find a way to surmount the Article III standing obstacles.




                                        12
    Case: 24-50390     Document: 2-1        Page: 22   Date Filed: 05/20/2024



      A.    Plaintiffs Move For Immediate Summary Judgment In An
             Attempt To Deny The SB 8 Defendants Discovery
    On June 20, 2023, the SB 8 defendants moved to dismiss the plaintiffs’

claims for lack of venue and improper joinder. The SB 8 defendants did not

seek immediate dismissal under Rule 12(b)(1) because they wanted to take

discovery on the Article III standing issues and have those issues litigated in

the proper venue. On August 4, 2023—before the briefing on the motion to

dismiss had been completed—the plaintiffs moved for leave to file a 38-page

motion for summary judgment against the SB 8 defendants, along with 28

exhibits totaling 304 pages that the plaintiffs had unilaterally assembled. App.

766–1128. The SB 8 defendants protested that the plaintiffs could not move

for summary judgment when the SB 8 defendants had no opportunity to take

discovery and when the Court had not yet resolved the SB 8 defendants’ ju-

risdictional and venue objections. App. 1129–1131. But the district court
granted the plaintiffs’ motion, observing that “Rule 56(b) expressly allows a

party to move for summary judgment ‘at any time until 30 days after the

close of all discovery.’” App. 1132–1133.
    The plaintiffs’ summary-judgment motion was filed on September 11,

2023, which gave the SB 8 defendants only 14 days to respond under the local

rules. App. 1134–1489. The SB 8 defendants immediately asked the district

court to extend their deadline for responding until after the ruling on the

venue objections. App. 1490–1494. The plaintiffs opposed the request, de-

manding that the SB 8 defendants immediately respond to their motion for




                                       13
    Case: 24-50390    Document: 2-1        Page: 23   Date Filed: 05/20/2024




summary judgment without taking discovery and despite the unresolved

venue objections. App. 1495–1504; App. 1514–1517. The SB 8 defendants also

asked the Court to stay the summary-judgment briefing schedule until it

ruled on the SB 8 defendants’ request to extend their deadline. App. 1505–

1509. The plaintiffs opposed that request as well. App. 1510–1513; App.

1518–1520.

   On September 25, 2023, the district court denied the SB 8 defendants’
motions and insisted that they file a Rule 56(d) motion instead. App. 1521–

1522. The SB 8 defendants immediately filed a Rule 56(d) motion, which the

plaintiffs opposed. App. 1523–1726. The district court administratively
stayed the SB 8 defendants’ deadline for responding to the plaintiffs’ sum-

mary-judgment motion until it could rule on the Rule 56(d) motion. App.
1727.

        B.   The Plaintiffs And The District Court Thwart The SB 8
              Defendants’ Discovery Efforts
   Meanwhile, out of concern that the plaintiffs and the district court would

force them to respond to the plaintiffs’ summary-judgment motion before

they could take or complete discovery, the SB 8 defendants began serving

written discovery demands on each of the ten plaintiffs. Outraged that the SB

8 defendants would seek discovery, the plaintiffs moved for protective orders

in response to every single discovery request that the SB 8 defendants

served.




                                      14
    Case: 24-50390     Document: 2-1        Page: 24   Date Filed: 05/20/2024




   The first defendant to serve discovery requests was Shannon Thomason,

who demanded information about the plaintiffs’ abortion-assistance activities

and sought admissions that the plaintiffs had never violated SB 8 and that the

SB 8 defendants had never threatened to sue the plaintiffs. App. 1538–1726.

The plaintiffs moved for a protective order, claiming that Thomason’s dis-

covery requests were “irrelevant and harassing” and that they should not

have to respond to any of them. App. 1728–1741. Mr. Thomason agreed to
withdraw his initial discovery demands and serve new ones in an effort to ac-

commodate some of the plaintiffs’ objections. App. 2749; App. 2534–2702

(Thomason’s revised discovery demands). Yet the plaintiffs continued to in-
sist that they should not have to respond to any discovery in the case. App.

2703–2710.

   On September 12, 2023, defendant Mistie Sharp served interrogatories

asking the plaintiffs to “[i]dentify all persons who you believe have

knowledge of relevant facts and identify the issues upon which you believe

they have knowledge,”15 an interrogatory pre-approved by the local rules. See

W.D. Tex. L. Civ. R. 33(b)(1). On September 30, 2023, SB 8 defendant Zach

Maxwell served written discovery requests concerning the plaintiffs’ Article

III standing. App. 2777–2795. The plaintiffs sought a protective order against

these discovery demands as well, again insisting that they should be categori-

cally immune from any discovery obligations. App. 2747–2759. They also



15. App. 2775.


                                       15
    Case: 24-50390     Document: 2-1        Page: 25   Date Filed: 05/20/2024




asked for a stay of all discovery, even though the plaintiffs had already moved

for summary judgment and were trying to force the SB 8 defendants to re-

spond before they could obtain discovery. App. 2756–2757. When the SB 8

defendants noticed plaintiff Ghazaleh Moayedi and subpoenaed Makayla

Montoya-Frazier of the Buckle Bunnies Fund for depositions, the plaintiffs

again moved for protective orders. App. 3059–3133; App. 3252–3280.

   On December 8, 2023, the magistrate judge stayed all discovery and
granted the protective orders because “the pending motions to dismiss raise

‘preliminary questions that may dispose of the case’ in its entirety.” App.

3318. Two weeks later, on December 21, 2023, the district court denied all of
the defendants’ motions to dismiss and strictly limited the SB 8 defendants’

ability to obtain discovery. The only discovery that the district court would
allow was:

      • Written interrogatories on each declarant in Plaintiffs’ mo-
        tion for summary judgment, not to exceed eight questions
        each.

      • Depositions of each of these declarants, not to exceed two
        hours per deposition.

      • No requests for documents without first fling a motion to
        compel, which must “describe in specific detail why the
        documents are necessary to contest Plaintiffs’ assertion of
        subject-matter jurisdiction or defend the case on the merits.”
App. 3348. The district court imposed these limitations because:

      [T]he SB 8 Defendants have not shown why subject matter ju-
      risdiction cannot be resolved on the pleadings. Although the SB
      8 Defendants have not filed a 12(b)(1) motion, such motions are


                                       16
    Case: 24-50390     Document: 2-1        Page: 26   Date Filed: 05/20/2024



      commonly decided at the pleading stage, before extensive dis-
      covery takes place. Had the Court denied any SB 8 Defendant’s
      motion to dismiss for lack of jurisdiction on the basis of an un-
      derdeveloped evidentiary record, then the SB 8 Defendants
      would have a colorable argument that discovery is necessary.
      But the SB 8 Defendants did not move to dismiss for lack of ju-
      risdiction. It appears exceedingly likely that most of the subject-
      matter jurisdiction arguments can be resolved on a 12(b)(1) mo-
      tion prior to discovery, as is the case with the Prosecutor De-
      fendants. Plaintiffs need not answer thousands of discovery re-
      quests to assist in a jurisdictional inquiry that can, in all likeli-
      hood, be resolved on the pleadings.
App. 3346–3347. This was a clear indication that the district court wanted the
SB 8 defendants to file a pre-discovery Rule 12(b)(1) motion, and that it

would rule on that pre-discovery Rule 12(b)(1) motion before deciding
whether additional discovery should be allowed.

      C.    The Plaintiffs Again Demand An Immediate Ruling On
             Their Summary-Judgment Motion
   After the district court’s ruling of December 21, 2023, the plaintiffs again

attempted to force the SB 8 defendants into responding to their motion for
summary judgment, even though the SB 8 defendants had not yet filed their

Rule 12(b)(1) motion, and even though no discovery had been conducted. On

January 10, 2024, counsel for the plaintiffs e-mailed Jonathan F. Mitchell,

counsel for the SB 8 defendants, and asked him to agree to a discovery dead-

line and briefing schedule on their motion for summary judgment. Mitchell

explained that he had been retained to argue two Supreme Court cases in

February (Trump v. Anderson, No. 23-719, and Garland v. Cargill, No. 22-

976), and that his time in January and February would be consumed with


                                       17
    Case: 24-50390     Document: 2-1        Page: 27   Date Filed: 05/20/2024




writing the briefs and preparing for oral argument in those cases. App. 3378.

Mitchell also told the plaintiffs that he would file a pre-discovery Rule

12(b)(1) motion and motion for judgment on the pleadings after his Supreme

Court arguments, and that he would take discovery from the plaintiffs if

those motions were denied. App. 3375–3376. The plaintiffs told Mitchell that

they would ask the Court to impose a discovery deadline of March 15, 2024.

App. 3374. Mitchell asked them to wait until he finished with the Trump liti-
gation on February 8, 2024. See id. The plaintiffs went ahead and filed the

motion anyway. App. 3349–3362.

   The SB 8 defendants objected to the plaintiffs’ request, and argued that
the district court must resolve their soon-to-be-filed jurisdictional objections

before considering the plaintiffs’ motion for summary judgment. The SB 8

defendants also said that it would be wasteful and inefficient to force them to

conduct and complete discovery when the district court had previously ob-

served that the SB 8 defendants’ jurisdictional objections could be resolved

on the pleadings without any need for discovery. App. 3397–3399.
   On March 7, 2024, the district court granted the plaintiffs’ motion in part

and entered a “scheduling order” requiring the SB 8 defendants to complete

all discovery by May 7, 2024, and respond to the plaintiffs’ motion for sum-
mary judgment by May 21, 2024. App. 3411. This “scheduling order” does

not comply with Rule 16, as it sets no deadline for amending the pleadings or

joining or adding parties, nor does it set discovery deadlines or dispositive-




                                       18
    Case: 24-50390     Document: 2-1        Page: 28   Date Filed: 05/20/2024




motion deadlines for the district-attorney defendants. See Fed. R. Civ. P.

16(b)(3)(A).

   On April 8, 2024, each of the SB 8 defendants moved dismiss the plain-

tiffs’ claims for lack of Article III standing. App. 3412–3503. Later that day,

the SB 8 defendants moved for judgment on the pleadings, noting that pri-

vate litigants (or would-be private litigants) cannot be sued under 42 U.S.C.

§ 1983 unless they conspire or coordinate their efforts with state officials, or
unless there is “corruption of judicial power by the private litigant.” McCart-

ney, 970 F.2d at 47. On April 9, 2024, the SB 8 defendants moved to stay dis-

covery and summary-judgment briefing until the district court resolved the
Rule 12(b)(1) motions. App. 3536–3543 (citing Lance v. Coffman, 549 U.S.

437, 439 (2007) (“Federal courts must determine that they have jurisdiction

before proceeding to the merits.”)).

   On April 16, 2024, the SB 8 defendants moved for leave to take discovery

beyond the amount permitted in the district court’s order of December 21,

2023. App. 3555–3562. They asked to serve interrogatories, requests for pro-
duction of documents, and requests for admission on the following topics:

      1. Whether and to what extent each of the plaintiffs has ever
         violated SB 8 in a manner that could expose itself to private
         civil-enforcement lawsuits;

      2. The identity of the individual that the plaintiffs claim have
         been “chilled” and deterred from supporting the plaintiffs
         on account of the defendants’ conduct;




                                       19
    Case: 24-50390    Document: 2-1          Page: 29   Date Filed: 05/20/2024



      3. Interrogatories requiring each plaintiff to identify the argu-
         ments and evidence that they will rely upon to prove each el-
         ement of Article III standing and how the SB 8 defendants
         are acting “under color” of state law;

      4. Whether and to what extent each of the plaintiffs has violat-
         ed or is violating 18 U.S.C. §§ 1461–1462; and

      5. Whether and to what extent each of the plaintiffs has violat-
         ed or is violating the criminal abortion laws of Texas.
App. 3555–3558.

   On April 18, 2024, the SB 8 defendants filed a Rule 56(d) motion, asking
the Court to defer briefing on the plaintiffs’ summary-judgment motion until

it rules on the Rule 12(b)(1) and Rule 12(c) motions and allows the SB 8 de-

fendants to conduct meaningful discovery. App. 3563–3588. The SB 8 de-

fendants also argued that the plaintiffs’ summary-judgment motion should be

summarily denied because it presents no argument for Article III standing,

and no argument or evidence for how the SB 8 defendants are acting “under
color” of state law — even though the plaintiffs bear the burden of proof on

each of those issues. App. 3573–3575.

   On May 1, 2024, the district court denied the SB 8 defendants’ Rule

56(d) motion, as well as their motion to stay discovery and summary-

judgment briefing. App. 3636–3649. But it granted in part their motion for

discovery, allowing them to serve only “interrogatories” on “[w]hether and

to what extent each of the plaintiffs has ever violated SB 8 in a manner that

could expose itself to private civil-enforcement lawsuits.” App. 3644–3645.

The district court denied the motion for discovery in all other respects, and


                                        20
    Case: 24-50390    Document: 2-1        Page: 30   Date Filed: 05/20/2024




extended the deadline to respond to the plaintiffs’ summary-judgment mo-

tion by one week, to May 28, 2024.

   On May 6, 2024, Sadie Weldon served 11 interrogatories on each of the

10 plaintiffs. App. 3887–3977. The plaintiffs refused to respond to any of

them, claiming that the only “interrogatory” that they must answer is the is-

sue described in the court’s order of May 1, 2024, even though this is not an

interrogatory but merely a description of an issue on which the SB 8 defend-
ants wanted to serve discovery. App. 3990–3992. On May 12, 2024, Weldon

moved to compel. App. 3881–3998.

   On May 14, 2024, the plaintiffs served responses to the court-issued “in-
terrogatory” that they divined from its order of May 1, 2024. App. 4016–

7418. Their answers were non-responsive and evasive, so the SB 8 defend-

ants filed a separate motion to compel on March 17, 2024, demanding that

each plaintiff provide a yes-or-no answer to whether they have violated SB 8

in the past. App. 4010–4015. Then the SB 8 defendants asked the district

court to extend their deadline for responding to the plaintiffs’ summary-
judgment motion until 14 days after it ruled on the pending motions to com-

pel. App. 7422–7428. The district court denied the motion, insisting that it

would not move the May 28, 2024, deadline for responding to the plaintiffs’
motion for summary judgment, despite the outstanding Rule 12(b)(1) mo-

tions and motions to compel discovery. App. 7429–7430.




                                      21
      Case: 24-50390    Document: 2-1        Page: 31   Date Filed: 05/20/2024



               REASONS THE WRIT SHOULD ISSUE
      Mandamus should issue because (1) the petitioners’ right to the writ is

clear and indisputable; (2) there is no other adequate means to obtain relief;
and (3) the writ is appropriate under the circumstances. In re Gee, 941 F.3d

153 (5th Cir. 2019) (per curiam); In re Volkswagen of America, Inc., 545 F.3d

304 (5th Cir. 2008) (en banc).

I.     The Petitioners’ Entitlement To The Writ Is
        Clear And Indisputable
      The district court clearly and indisputably erred by: (1) Refusing to re-

solve the SB 8 defendants’ jurisdictional objections before forcing them to

complete discovery and respond to the plaintiffs’ summary-judgment mo-
tion; (2) Denying the SB 8 defendants adequate discovery; and (3) Refusing
to issue a scheduling order as required by Rule 16 and Local Rule 16(a).

        A.   The District Court Has A Non-Discretionary Duty To
              Ensure That It Has Jurisdiction Before Proceeding To The
              Merits Of A Case
      When a district court violates a non-discretionary duty, then the peti-
tioner has a clear and indisputable right to mandamus relief. See In re Gee, 941

F.3d 153, 159 (5th Cir. 2019). Federal district courts have a non-discretionary

duty to ensure that they have subject-matter jurisdiction before proceeding to

the merits of the case. This duty has been long established in the binding

precedent of the Supreme Court and the Fifth Circuit. See Lance v. Coffman,

549 U.S. 437 (2007) (“Federal courts must determine that they have jurisdic-

tion before proceeding to the merits.”); Steel Co. v. Citizens for a Better Envi-



                                        22
    Case: 24-50390     Document: 2-1        Page: 32   Date Filed: 05/20/2024




ronment, 523 U.S. 83 (1998) (“The requirement that jurisdiction be estab-

lished as a threshold matter ‘spring[s] from the nature and limits of the judi-

cial power of the United States’ and is ‘inflexible and without exception.’”

(citation omitted)); MidCap Media Finance, L.L.C. v. Pathway Data, Inc., 929

F.3d 310 (5th Cir. 2019) (“[W]e have an independent obligation to assess our

own jurisdiction before exercising the judicial power of the United States.”);

B. Inc. v. Miller Brewing Co., 663 F.2d 545, 548–49 (5th Cir. 1981) (“[T]he tri-
al court must be certain of its jurisdiction before embarking upon a safari in

search of a judgment on the merits.”); Gee, 941 F.3d at 171 (“[B]efore any

federal court can analyze the ‘cumulative effects’ of Louisiana’s laws, we
must know which laws Plaintiffs have standing to challenge. Again, jurisdic-

tion first.”).

    The district court is flouting this non-discretionary duty by refusing to

ensure that it has jurisdiction over this case before ordering the SB 8 defend-

ants to complete discovery and respond to the plaintiffs’ dispositive motion.

The jurisdictional problems in this case are clear and obvious: The plaintiffs
do not and cannot have Article III standing when: (1) The trigger ban and the

pre-Roe statutes independently criminalize all of the abortion-assistance ac-

tivities prohibited by SB 8; and (2) Each of the SB 8 defendants has dis-
claimed an intent to sue the plaintiffs under SB 8. See supra at pp. 9–11. The

plaintiffs’ motion for summary judgment does not even discuss Article III




                                       23
    Case: 24-50390      Document: 2-1        Page: 33   Date Filed: 05/20/2024




standing,16 even though the plaintiffs bear the burden of proving standing
with respect to every claim and every defendant that they have sued. See

DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006) (“‘[A] plaintiff must

demonstrate standing for each claim he seeks to press’ and ‘for each form of

relief’ that is sought.” (citation omitted)). The plaintiffs and the district

court do not get to skate past these jurisdictional problems and proceed di-

rectly to dispositive briefing.
    This is not the first time that the district court has put jurisdictional is-

sues on the back burner in an effort to accommodate the plaintiffs’ litigation

demands. Just six months ago, this Court issued a writ of mandamus in this
very litigation and rebuked the district court for “not first ensuring its own

jurisdiction” before allowing the plaintiffs to subpoena the Attorney General.

See Paxton, 60 F.4th at 260; see supra at p. 7. Now the district court is back to

its old ways, allowing jurisdictional objections to linger while demanding that

the SB 8 defendants complete discovery and respond to a summary-

judgment motion that it has no jurisdiction to consider. The Court should
(once again) remind the district court that federal courts “have an obligation

to assure ourselves of litigants’ standing under Article III before proceeding

to the merits of a case.” Department of Education v. Brown, 600 U.S. 551, 560

(2023) (citations and internal quotation marks omitted).




16. App. 1134–1180.


                                        24
    Case: 24-50390     Document: 2-1        Page: 34   Date Filed: 05/20/2024



      B.    The District Court Clearly Abused Its Discretion By
             Denying The SB 8 Defendants Meaningful Discovery
   The plaintiffs were determined from the outset of this case to deny the

SB 8 defendants any discovery and have the case litigated entirely on the 28

exhibits that they had attached to their motion for summary judgment. App.

766–1128. And the district court has largely accommodated this abusive and

unreasonable demand. When the magistrate judge granted the plaintiffs’ mo-

tion to stay all discovery on December 8, 2023, it claimed that the pending

motions to dismiss might render discovery unnecessary. App. 3318. And

when the district court strictly limited the discovery that the SB 8 defendants

could conduct, it claimed that the SB 8 defendants could file a pre-discovery

Rule 12(b)(1) motion based on the pleadings alone. App. 3346–3347. Yet now

the plaintiffs and the district court are demanding that SB 8 defendants com-

plete all of their discovery within the strict limits imposed by the district
court’s order of December 21, 2023. The district court’s refusal to allow

meaningful discovery is a “clear abuse of discretion” that warrants manda-

mus relief. Cheney v. United States District Court, 542 U.S. 367, 380 (2004).
   Defendants who are sued in federal court are entitled to defend them-

selves by taking discovery and developing a factual record that will rebut the

plaintiffs’ claims. The district court’s order of December 21, 2023, does not

allow the SB 8 defendants sufficient discovery to defend themselves. It does

not allow them to serve any interrogatories on any plaintiff except Ghazaleh

Moayedi. It allows interrogatories to be served only on the plaintiffs’ declar-




                                       25
    Case: 24-50390     Document: 2-1        Page: 35   Date Filed: 05/20/2024




ants, rather than the plaintiffs themselves, even though the rules of civil pro-

cedure do not allow interrogatories to be served on non-party declarants. See

Fed. R. Civ. P. 33(a)(1) (interrogatories may be served only on a “party”). It

does not allow the SB 8 defendants to take Rule 30(b)(6) depositions of any

of the nine organizational plaintiffs that have sued them. It does not allow

any requests for admission to be served. It bans the SB 8 defendants from re-

questing documents unless they first file a motion to compel that “de-
scribe[s] in specific detail why the documents are necessary to contest Plain-

tiffs’ assertion of subject-matter jurisdiction or defend the case on the mer-

its.” App. 3348. It is unheard of for a Court to deny a defendant the right to
depose and serve interrogatories on a plaintiff that is suing him, and nothing

in this case can justify such a drastic departure from the rules of civil proce-

dure.

    The district court also abused its discretion by forbidding the SB 8 de-

fendants to take discovery into the plaintiffs’ abortion-assistance activities.

App. 3645–3648. The SB 8 defendants intend to rebut the plaintiffs’ First
Amendment claims by showing that the plaintiffs are criminal organizations

whose speech activities fall outside the First Amendment as “speech integral

to unlawful conduct.” United States v. Hansen, 599 U.S. 762, 783 (2023); see
also Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 498 (1949). Yet the dis-

trict court refused to allow discovery into the extent to which the plaintiffs

violate 18 U.S.C. §§ 1461–1462 by aiding or abetting the shipment or receipt
of abortion-related paraphernalia. App. 3645–3648. The district court also


                                       26
    Case: 24-50390     Document: 2-1        Page: 36   Date Filed: 05/20/2024




barred discovery into whether the plaintiffs violate Texas’s criminal abortion

laws by aiding or abetting illegal self-managed abortions (which the Buckle

Bunnies Fund publicly admits to doing),17 or by aiding or abetting drug-

induced abortions in which either of the two abortion pills is swallowed or

ingested in Texas. App. 3645–3648. This, too, is a “clear abuse of discretion”

that warrants mandamus relief.

    The plaintiffs and the district court have claimed throughout this litiga-

tion that the SB 8 defendants do not need discovery because the plaintiffs’

claims involve “pure questions of law.” App. 3345 (district court); App. 3609

(plaintiffs). That is false. The plaintiffs are not “challenging” SB 8; they are
suing the SB 8 defendants under 42 U.S.C. § 1983 and accusing them of vio-

lating their constitutional rights while acting “under color” of state law.18 See

17. See Iris Dimmick, Abortion access advocates face imposters, legal threats as
    trigger law nears, San Antonio Report (August 1, 2022),
    https://bit.ly/3R6S3ad (“[T]he Buckle Bunnies Fund . . . helps Texans
    access and pay for abortions. That includes paying for transportation to
    a state where abortion is still legal, sharing information about abortion
    pills and guiding women through their self-managed abortions”).
18. There is no such thing as “challenging” a statute, even though courts
    sometimes use nomenclature suggesting that litigants challenge statutes
    rather than the conduct of the named defendants that they have sued.
    The plaintiffs’ court filings repeatedly and falsely assert that they are
    “challenging” SB 8, yet a court cannot direct any relief at the statute
    and can restrain only the behavior of the SB 8 defendants. See Whole
    Woman’s Health v. Jackson, 141 S. Ct. 2494, 2495 (2021) (“[F]ederal
    courts enjoy the power to enjoin individuals tasked with enforcing laws,
    not the laws themselves.”); Okpalobi v. Foster, 244 F.3d 405, 426 n.34
    (5th Cir. 2001) (en banc) (“An injunction enjoins a defendant, not a
    statute.”).


                                       27
    Case: 24-50390     Document: 2-1        Page: 37   Date Filed: 05/20/2024




Massachusetts v. Mellon, 262 U.S. 447, 488 (1923) (“If a case for preventive

relief be presented, the court enjoins, in effect, not the execution of the stat-

ute, but the acts of the official, the statute notwithstanding.”). The plaintiffs

must therefore prove with factual evidence that Ashley Maxwell, Zach Max-

well, Mistie Sharp, Shannon Thomason, and Sadie Weldon are violating each

of the plaintiffs’ constitutionally protected rights—and that they are doing so

“under color” of state law. That is not a “pure question of law”; it requires
factual evidence of the behavior (or intended behavior) of each of the SB 8

defendants. And the SB 8 defendants are entitled to take discovery to prove

that Ashley Maxwell, Zach Maxwell, Mistie Sharp, Shannon Thomason, and
Sadie Weldon are not doing anything to the plaintiffs that violates their con-

stitutional rights.

       C.    The District Court Has A Non-Discretionary Duty To Enter
              A Scheduling Order That Complies With Rule 16
    The “scheduling order” that the district court issued on March 7, 2024,
does not comply with Rule 16, as it sets no deadline for amending the plead-

ings or joining or adding parties, nor does it set discovery deadlines or dis-

positive-motion deadlines for the district-attorney defendants. App. 3411.

The plaintiffs can still amend their pleadings and join new parties even

though the SB 8 defendants’ discovery window has closed—and even though

the SB 8 defendants must respond to the plaintiffs’ summary-judgment mo-

tion in eight days. When the SB 8 defendants moved for judgment on the

pleadings on May 13, 2024, the plaintiffs claimed the motion was improper



                                       28
    Case: 24-50390      Document: 2-1        Page: 38   Date Filed: 05/20/2024




because the district court had not yet set a deadline for amending the plead-

ings, and therefore the pleadings had not “closed” within the meaning of

Rule 12(c). App. 3589 n.1. It is absurd that the court-imposed discovery dead-

line for the SB 8 defendants has already passed while plaintiffs remain free to

amend their pleadings or join new parties.

    The district court must comply with Rule 16 and Local Rule 16(a) and en-

ter a proper scheduling order. That scheduling order must set deadlines for
the plaintiffs to amend their pleadings and add parties. It must also ensure

that the SB 8 defendants’ jurisdictional objections are considered and re-

solved before the Court and the parties proceed to the merits of the case.

II. There Is No Adequate Remedy By Appeal, And
     Mandamus    Is  Appropriate   Under    The
     Circumstances
    The SB 8 defendants lack an adequate remedy by appeal because the dis-

trict court has already closed the window for discovery and is demanding that

they respond to a summary-judgment motion that it has no jurisdiction to

consider. The SB 8 defendants cannot obtain the discovery that they want by
waiting until the district court enters judgment against them and appealing,

because the appellate court will dismiss the plaintiffs’ claims for lack of Arti-

cle III standing rather than remand for additional discovery. Nor can the SB 8

defendants obtain any remedy on appeal for the needless impositions that the

plaintiffs and the district court are subjecting them to.




                                        29
    Case: 24-50390     Document: 2-1        Page: 39   Date Filed: 05/20/2024




    If the district court wants to ignore or postpone resolution of the jurisdic-

tional problems, rather than dismissing this case at the outset, then the SB 8

defendants have the right to take discovery from the plaintiffs who are har-

assing them with this meritless lawsuit. They cannot vindicate that right by

riding things out in the district court and appealing an adverse judgment.

And the SB 8 defendants will not be able to appeal at all if the district court

belatedly grants their Rule 12(b)(1) motions after forcing them to respond to
the plaintiffs’ motion for summary judgment.

    For the same reasons, a writ of mandamus is appropriate. The Court

should issue the writ and direct the district court to: (1) Resolve the petition-
ers’ jurisdictional objections to this lawsuit before forcing them to respond to

the plaintiffs’ motion for summary judgment; (2) Allow them to take mean-

ingful discovery from each of the plaintiffs that has sued them; and (3) Issue

a scheduling order that accords with the requirements of Rule 16. If the

Court exercises its discretion not to issue the writ,19 then we respectfully ask

that the Court’s opinion make clear that the district court should take each of
these steps.

III. The Court Should Certify The State-Law
      Abortion Issues To The Supreme Court Of Texas
    The jurisdictional issues in this case turn on the meaning of Texas abor-

tion statutes that only the state judiciary can resolve. And because jurisdic-

tion must be resolved before a federal tribunal can proceed to the merits, it is


19. See Gee, 941 F.3d at 170–71.


                                       30
    Case: 24-50390      Document: 2-1        Page: 40   Date Filed: 05/20/2024




imperative that the federal judiciary secure an authoritative resolution of the

relevant state-law questions before instructing the district court on manda-

mus to resolve the jurisdictional issues this case. The district court, for ex-

ample, claims that the pre-Roe statutes have been “repealed”—even though

SB 8 makes clear that they are not20—and the defendants’ jurisdictional ob-

jections hinge in part on whether pre-Roe statutes independently criminalize

everything that SB 8 prohibits.
   Before ruling on the petition for mandamus, the Court should stay the

district-court proceedings and certify each of the following issues to the Su-
preme Court of Texas:

      1. Whether the Texas pre-Roe abortion statutes have been re-
         pealed by implication;

      2. Whether every abortion and abortion-assistance activity pro-
         hibited by SB 8 is independently criminalized by the trigger
         ban and the pre-Roe abortion statutes; and

      3. Whether the trigger ban, the pre-Roe abortion statutes, and
         SB 8 apply to abortions in which a patient ingests an abor-
         tion-inducing drug inside Texas after obtaining that drug
         from an out-of-state provider.




20. See notes 11–12, supra.


                                        31
    Case: 24-50390     Document: 2-1        Page: 41   Date Filed: 05/20/2024



                              Conclusion
    The petition for writ of mandamus should be granted. The Court should
certify the questions described in Part III to the Supreme Court of Texas.

                                       Respectfully submitted.

                                        /s/ Jonathan F. Mitchell
                                       Jonathan F. Mitchell
                                       Mitchell Law PLLC
                                       111 Congress Avenue, Suite 400
                                       Austin, Texas 78701
                                       (512) 686-3940 (phone)
                                       (512) 686-3941 (fax)
                                       jonathan@mitchell.law

                                       Counsel for Petitioners





                                       32
    Case: 24-50390     Document: 2-1        Page: 42   Date Filed: 05/20/2024



                     CERTIFICATE OF SERVICE

    I certify that on May 20, 2024, this petition was served via e-mail on

counsel for the respondents and transmitted to the clerk of the Court. A copy

will be sent to Judge Robert Pitman of the Western District of Texas. Coun-

sel further certifies that: (1) any required privacy redactions have been made

in compliance with Fifth Circuit Rule 25.2.13; (2) the electronic submission

is an exact copy of the paper document in compliance with Fifth Circuit Rule

25.2.1; and (3) the document has been scanned with the most recent version
of Symantec Endpoint Protection and is free of viruses.


                                        /s/ Jonathan F. Mitchell
                                       Jonathan F. Mitchell
                                       Counsel for Petitioners





                                       33
     Case: 24-50390    Document: 2-1        Page: 43   Date Filed: 05/20/2024



                CERTIFICATE OF COMPLIANCE
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                         and type-style requirements

1.     This brief complies with the type-volume limitation of Fed. R. App. P.
       27(d)(2) because it contains 7,764 words, excluding the parts of the
       brief exempted by Fed. R. App. P. 32(f ).

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                                         /s/ Jonathan F. Mitchell
                                        Jonathan F. Mitchell
Dated: May 20, 2024                     Counsel for Petitioners




                                       34
